                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                             CENTRAL DIVISION

 UNITED STATES OF AMERICA,
               Plaintiff,                              No. CR07-3039-MWB
 vs.                                          REPORT AND RECOMMENDATION
                                                 ON MOTION TO SUPPRESS
 JOSE JUAN ISLAS-BRAVO,
               Defendant.
                                ____________________


       The defendant Jose Juan Islas-Bravo (“Islas”) is charged, together with codefendant
Leodan Vasquez (“Vasquez”), with conspiracy to distribute and to possess with the intent
to distribute 500 grams or more of methamphetamine, in violation of 21 U.S.C.
§ 841(a)(1) & (b)(a)(A); and possession with intent to distribute, and aiding and abetting
the possession with intent to distribute, 50 grams or more of methamphetamine, 5 grams
or more of which was pure methamphetamine, in violation of 21 U.S.C. § 841(a)(1) &
(b)(1)(B). In addition, Islas is charged separately with unlawful entry into the United
States, in violation of 8 U.S.C. § 1325(a). See Doc. No. 18, Superseding Indictment. On
November 2, 2007, Islas filed a motion (Doc. No. 21) to suppress evidence arising from
his arrest, detention and interrogation on August 8, 2007, and from the search of an
automobile in which he was a passenger on that date. Islas claims officers lacked probable
cause to stop the vehicle in which he was a passenger, and his arrest was warrantless and
without probable cause. See id. The plaintiff (the “Government”) resists the motion.
Doc. No. 29.
       As directed in the trial management order, the court held an evidentiary hearing on
the motion on November 30, 2007, at which Assistant U.S. Attorney Kevin Fletcher
appeared on behalf of the Government, and Islas appeared in person with his attorney,
Stuart J. Dornan. Webster County Sheriff’s Deputies Michael Halligan and Tony Walter


   Case 3:07-cr-03039-MWB-KEM          Document 33      Filed 12/03/07    Page 1 of 6
testified at the hearing. The court admitted the following exhibits into evidence: Gov’t
Exs. 1A, 1B1, 1B2, 1C, & 1D – videotapes from vehicles driven by several different law
enforcement officers who were involved in the pursuit and arrest of Islas and Vasquez on
August 8, 2007; Gov’t Exs. 2A through 2D – active warrants for Vasquez’s arrest that
were known to officers on August 8, 2007, prior to the pursuit and stop of the vehicle; and
Gov’t Exs. 3A through 3C – active warrants for Islas’s arrest as of August 8, 2007
(unknown to officers at the time of the pursuit and Islas’s arrest).1
       The motion is now fully submitted, and the court turns to consideration of Islas’s
motion to suppress.


                                         Background Facts
       Prior to August 8, 2007, Webster County Sheriff’s Deputy Michael Halligan had
been investigating Vasquez for suspected distribution of methamphetamine. He had infor-
mation that Vasquez had been living at 100 Avenue E in Fort Dodge, Iowa, which is in
Webster County. He was aware of several outstanding warrants for Vasquez’s arrest, see
Gov’t Exs. 2A, 2B, 2C & 2D, and he and other officers had been attempting to locate
Vasquez to arrest him. Vasquez was on Webster County’s “Top 10 Most Wanted” list,
leading to several tips from citizens through a “Crime Stoppers” hot line.
       On August 8, 2007, officers got a Crime Stoppers tip indicating Vasquez had been
seen at a residence on South 22nd Street in Fort Dodge, Iowa, and he was driving a black
Ford F-150 truck. Officers went to the residence and spoke with a woman who stated
Vasquez was not there currently, but she did identify the Ford truck. Later in the day,
Deputy Halligan saw a black Ford F-150 truck parked behind 100 Avenue E. He set up
surveillance and observed two Hispanic males in the truck, driving away from 100


       1
         One additional exhibit was admitted into evidence that is not relevant here. The exhibit was in
support of Islas’s motion for severance.

                                                   2


    Case 3:07-cr-03039-MWB-KEM               Document 33         Filed 12/03/07      Page 2 of 6
Avenue E. He suspected Vasquez was one of the individuals in the truck so he began
following the truck. At some point, he determined the truck was registered to Vasquez’s
sister, Rocio Vasquez.
       The Ford truck pulled up to a stop sign.         There was a white Dodge Neon
immediately behind the truck, and Deputy Halligan’s vehicle was behind the Dodge. From
his vantage point, Deputy Halligan could see clearly into the back of the truck. He
observed the two Hispanic males in the truck, and he thought the driver was Vasquez,
although he was not positive about the identification. After the truck had been traveling
on the city streets for a few blocks, Deputy Halligan clearly saw the truck’s occupants pull
their seatbelts down over their shoulders and put them on. These events occurred at
around 6:00 p.m. to 6:30 p.m., and it was still daylight.
       Deputy Halligan called for a marked patrol car to conduct a traffic stop of the truck
for the seatbelt violation. He continued to follow the truck until a marked patrol car
caught up with them, pulled in behind the truck, and activated its emergency lights. In
response, the Ford truck sped off and led officers on a high-speed chase through residential
areas of Fort Dodge. Several marked patrol cars were involved in the chase, one of which
was driven by Deputy Tony Walter. At some point during the chase, Deputy Walter’s
vehicle became the lead vehicle in pursuit of the truck. Deputy Walter observed the
truck’s passenger “digging” in the truck’s center console. A few seconds later, he
observed items being thrown from the passenger’s window of the truck. He could not tell
whether the items were being thrown by the driver or the passenger, only that they were
coming from the passenger’s window.
       Officers finally stopped the truck when it collided with another vehicle. Deputy
Walter took the driver, identified as Vasquez, into custody, while another officer took the
passenger, identified as Islas, into custody. Deputy Walter observed a white crystalline




                                             3


   Case 3:07-cr-03039-MWB-KEM           Document 33      Filed 12/03/07     Page 3 of 6
substance that he believed to be methamphetamine on the passenger’s seat. He scraped up
some of the substance and put it in an evidence bag for testing.
       To the officers’ knowledge, no illegal substances were found on Islas’s person at
the time of his arrest, and Islas did not make any incriminating statements prior to being
advised of his rights.


                                        Discussion
       Islas argues the officers lacked probable cause to stop the truck in the first place.
He argues Deputy Halligan, in his written report of the incident, did not state clearly that
the occupants were not wearing their seatbelts because the deputy stated it “appeared” the
truck’s occupants were not wearing their seatbelts. See Doc. No. 21-2 at 2-3. Islas
further argues the officers lacked probable cause to arrest him without a warrant because
he “was an innocent passenger who did not participate in the criminal activity of his
driver.” Id. at 3. He claims the officers had no knowledge of facts and circumstances to
suggest he had committed, or was committing, a crime at the time of his arrest. Id. at 3-4.
       The court credits Deputy Halligan’s testimony that he observed the truck’s
occupants donning their seatbelts after they had been driving for several blocks. The
seatbelt violation provided probable cause for the officers to stop the truck. See United
States v. Lyton, 161 F.3d 1168, 1170 (8th Cir. 1998) (“Any traffic violation, even a minor
one, gives an officer probable cause to stop the violator.”).
       However, even without the seatbelt violation, the court finds the officers had a
reasonable, articulable suspicion that Vasquez, a fugitive, was in the truck, allowing them
to perform an investigatory stop of the vehicle. See Terry v. Ohio, 392 U.S. 1, 88 S. Ct.
1868, 20 L. Ed. 2d 889 (1968); United States v. Wheat, 278 F.3d 722, 726 (8th Cir.
2001); United States v. Gonzalez, 220 F.3d 922 (8th Cir. 2000). The officers knew of
outstanding warrants for Vasquez’s arrest. They had information that Vasquez was driving


                                             4


   Case 3:07-cr-03039-MWB-KEM           Document 33      Filed 12/03/07     Page 4 of 6
a Ford truck registered to his sister. They saw the Ford truck leave from a location
believed to be Vasquez’s residence. And they observed two Hispanic males in the truck,
one of whom was believed to be Vasquez. The officers did not have to identify Vasquez
positively in order to make a Terry-type stop of the vehicle.              The standard is
reasonableness, and “the ‘level of suspicion required by a Terry stop is obviously less
demanding than that for probable cause[.]’” United States v. Gonzales, 220 F.3d 922, 925
(8th Cir. 2000) (quoting United States v. Sokolow, 490 U.S. 1, 7, 109 S. Ct. 1581, 1585,
104 L. Ed. 2d 1 (1989)).
       Once the vehicle fled from the officers, the officers then had probable cause to stop
the vehicle because the driver was actually committing a traffic violation. “[I]t is well-
established that a police officer who observes a traffic violation has probable cause to stop
the vehicle and its driver.” United States v. Olivera-Mendez, 484 F.3d 505, 509 (8th Cir.
2007) (citing Pennsylvania v. Mimms, 434 U.S. 106, 109, 98 S. Ct. 330, 332, 54 L. Ed.
2dc 331 (1977) (per curiam)).
       Once the vehicle was stopped, Vasquez was arrested both for the current traffic
violations and on the outstanding warrants. The officers were entitled to search the vehicle
incident to Vasquez’s arrest. See United States v. Ball, 499 F.3d 890, 896 (8th Cir. 2007)
(citing, inter alia, New York v. Belton, 453 U.S. 454, 460, 101 S. Ct. 2860, 69 L. Ed. 2d
768 (1981)). During their search of the vehicle, the officers located a substance they
believed to be methamphetamine. Neither Vasquez nor Islas made any statements at the
scene regarding ownership of the drugs. Furthermore, officers had seen items being
thrown from the passenger’s window of the vehicle. These facts established probable
cause to arrest Islas. See United States v. Velazquez-Rivera, 366 F.3d 661, 665 (8th Cir.
2004) (citing Maryland v. Pringle, 540 U.S. 366, 372-73, 124 S. Ct. 795, 801, 157 L. Ed.
2d 769 (2003)).




                                             5


   Case 3:07-cr-03039-MWB-KEM           Document 33       Filed 12/03/07    Page 5 of 6
      Islas has failed to show the stop of the vehicle, the warrantless search of the vehicle,
and his arrest were unlawful. The undersigned recommends Islas’s motion to suppress be
denied.
      Any party who objects to this report and recommendation must serve and file
specific, written objections by December 7, 2007. Any response to the objections must
be served and filed by December 13, 2007.
      IMPORTANT NOTE: Any party planning to lodge any objection to this report
and recommendation must order a transcript of the hearing promptly, not later than
December 5, 2007, regardless of whether the party believes a transcript is
necessary to argue the objection. If an attorney files an objection to this report and
recommendation without having ordered the transcript as required by this order, the
court may impose sanctions on the attorney.
      IT IS SO ORDERED.
      DATED this 3rd day of December, 2007.




                                          PAUL A. ZOSS
                                          CHIEF MAGISTRATE JUDGE
                                          UNITED STATES DISTRICT COURT




                                             6


   Case 3:07-cr-03039-MWB-KEM           Document 33       Filed 12/03/07     Page 6 of 6
